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EXHIBIT 4
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August 18, 2008

Angela Seaton, Esq.

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Re: Neurontin Products Liability Litigation

Case Specific Expert Disclosure: Bulger v. Pfizer 07 CA 11426 PBS
Counsel:

As you know, Plaintiffs’ case-specific expert disclosure was due on August 7, 2008.

With respect to the Bulger case, annexed hereto please find the formal disclosure for Plaintiffs’ expert,
Louis Roh, M.D., as t@ the issue of damages. In light of the disclosure being made after August 7, 2008, your

mao objection to this disfiosure is noted. Please advise immediately whether you will waive your objection.

Otherwise, Plaintiffs’ counsel will have no choice but to seek the court’s intervention regarding the late
disclosure.
Very truly,

enneth B. Frgmso
845-562-0203

cc Jim Rouhandeh, Esq.
David B. Chaffin, Esq.

* Middletown + Moaroe « New Windgor » Newark + Port Jervis » Poughkeepsie « Spring Valley + Syracuse « Troy

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UNITED STATES DISTRICT COURT 230337-06
DISTRICT OF MASSACHUSETTS

In re: NEURONTIN MARKETING, .
SALES PRACTICES AND PRODUCTS - MDL Docket No. 1629
LIABILITY LITIGATION
Master File No. 04-10981

THIS DOCUMENT RELATES TO: Judge Patti B. Saris

RONALD J. BULGER, SR., as Administrator of the , Magistrate Judge Leo T.

Estate of SUSAN BULGER, deceased

07 CA 11426 PBS

PLAINTIFF’S CASE-SPECIFIC EXPERT DISCLOSURE
(LOUIS S$. ROH, M.D.)
Products Liability Plaintiffs, by and through their attorneys, FINKELSTEIN &
oo nan —---—- PARTNERS, LLP, pursuant to Fed, R, Civ. P. 26, identify Louis $. Roh, M.D., as
Plaintiffs’ expert who may be used at trial to present expert testimony on the issue of
damages.

Dr. Roh’s Cwriculum Vitae, including a list of publications authored by the
expert and a list of his previous testimony is annexed hereto. Dr. Roh’s narrative report
includes his opinions and references to materials considered and relied upon in reaching
his opinions. Said narrative report is annexed hereto. Dr. Roh is expected to testify in
accordance with his Report.

The compensation to be paid for Dr. Roh’s time in providing testimony is $3000

for each business day he is requested to provide testimony.
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Dated: August 18, 2008

TO:

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CERTIFICATE OF SERVICE
I, Kenneth B. Fromson, Esq., certify that PLAINTIFF’S CASE SPECIFIC
EXPERT DISCLOSURE was served on August 18, 2008 by overnight delivery to the
following:

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I further certify that PLAINTIFF’S CASE SPECIFIC EXPERT DISCLOSURE was.
served on August 18, 2008 via facsimile delivery to the following:

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TELEPHONE: 944-261-0839
_ June 19, 2008

Ronald Rosenkranz, Esq.
Finkelstein & Partners -
Attorneys at Law —

436 Robinson Avenue -
Newburgh, NY 12550.

Re: Bulger v, Pfizer, et al

Dear Mr. Rosenkranz:
As per your request, | have reviewed the following materials, which you forwarded to me
on above captioned matter. 1 .

1. Death Certificate, 8/5/04.

2. Laboratory Reports, 9/1/04.

3. Report of Peabody Police Department, g/4i04,
~ “4. Report of Northshore Ambulance, Ine., 8/4/04.
5. Report of Peabody Fire Department, 9/4/04,

Mrs. Susan Bulger (DOBSSMENMEM:11 Blaine Avenue, Peabody, Ma 01960) lived with her _
husband, Ronald and 5-year old daughter, MMR at above address. She had past medical:
history of depression and was taking Effexor, Neurontin and Prednisone. Approximately
6:00 p.m., 8/4/04, she took 4 Neurotin pillsand told her husband that she was going
downstairs to bed. About one hour later, Ronald and S]jggag went downstairs and found

her in laundry room with an extension cord wrapped around her néck with cord tied

around the pole. She was suspended with her legs slightly bent touching floor. He'cut the .
cord with a knife, placed her on the floor, attempted to resuscitate and called the police at
7:11 p.m., 8/4/04. The ambulance crew. arrived at the scene at 7:15, p.m., 8/4/04, She was.
found lying supine on the floor of the basement with no pulse or respiration.

, g
The examination revealed pale, cool diaphoretic skin and early stage of pooling (lividity)
to her back. Despite possibility of hanging for as much as | hour, theré was no pooting

(lividity) noted to her feet and legs. The neck showed no ligature marks. She had marked
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Bulger v. Pfizer, et al. 2-
cyanosis to her lips and tongue. She was pronounced dead at 7:20 p.m., 8/4/04.

The body was removed to the Office of the Chiei' Medical Examiner, Boston, Ma, The
autopsy was not performed and 3 grey tubes of blood was drawn for laboratory analysis.

The cause of death was certified as “Hanging” by Richard Evans, MD on 8/5/04.

The Immunoassay screening test of the blood by the UMASS Memorial Medical Center
showed negative for ethanol (drinking alcohol) and drugs.

‘When a person commits suicide by hanging and suspended for extended period of time
with both feet above the ground, The neck shows deep furrow (groove), the lower
extremities show dependent lividity and the skin becomes pale.

The cyanosis of the lips and tongue is an indication of elevated reduced hemoglobin in
blood due to incomplete oxygenation of blood in case of respiratory difficulty.

Mrs. Susan Bulger was found with her legs bent touching the floor, no dependent lividity

of legs and feet, no ligature marks around her neck and cyanosis of her lips and tongue.
This is a clear indication that she was standing and leaning with ligature around her neck.

It my opinion with a reasonable degree of medical certainty as a Licensed Physician and
Board Certified Pathologist by the American Board of Pathology in Anatomic Pathology,
Clinical Pathology and Forensic Pathology that Mrs. Susan Bulger was feeling pain due to
the compression of her neck by the ligature and suffered respiratory difficulty, fear of
impending death, anxiety and helplessness as-she was leaning from the pole in the
basement for approximately 10 to 20 minutes for she finally expired.

Gres fel
Louis 8. Roh, MD
Forensic Pathologist
